      Case 1:16-cv-00288-KBM-WPL Document 68 Filed 11/17/16 Page 1 of 2



                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW MEXICO


ANA ISABEL RODRIGUEZ-SALGADO
And FELIPE MENDOZA-QUIROZ,
individually and on behalf of their
minor children ALYSON MENDOZA
RODRIGUEZ and SHANTI MENDOZA
RODRIGUEZ,

               Plaintiffs,
v.                                                         Case No. 1:16-CV-00288 KBM-WPL

SEAN WEST BAGGS and
BNSF RAILWAY COMPANY,

               Defendants.

      ORDER APPROVING SETTLEMENT AND DISMISSAL WITH PREJUDICE

       THIS MATTER having come before the Court on the parties’ Motion to Approve

Settlement and Dismiss with Prejudice [Doc. No. 67] and the Court having considered the

motion and being otherwise advised of the relevant facts, the Court hereby enters its Order

granting the motion as follows:

       1.      The settlement reached by Plaintiffs and Defendants, including on behalf of the

above captioned minor children, is in the best interest of justice and hereby approved.

       2.      All claims that were or could have been made in the above captioned action shall

be and hereby are dismissed with prejudice.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that the above

captioned matter shall be and hereby is dismissed with prejudice, each party to bear its own

attorney’s fees and costs.



                                                HONORABLE JUDGE KAREN B. MOLZEN
      Case 1:16-cv-00288-KBM-WPL Document 68 Filed 11/17/16 Page 2 of 2



Approved by:

ATKINSON, BAKER & RODRIGUEZ, P.C.

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